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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 WOODSTONE LIMITED                                  Case No. 22-cv-1589 (NEB/JFD)
 PARTNERSHIP, LOFTS AT FARMERS
 MARKET LLC,

                      Plaintiffs,
                                                       ORDER/NOTICE OF
 v.                                                  PRETRIAL CONFERENCE

 CITY OF SAINT PAUL, MINNESOTA,
 CITY COUNCIL OF THE CITY OF
 SAINT PAUL, ANGIE WIESE in her
 official capacity as the Director of the
 Department of Safety and Inspections of
 the City of Saint Paul, MAYOR
 MELVIN CARTER in his official
 capacity as Mayor of the City of Saint
 Paul, JOHN DOE,

                      Defendants.


       Pursuant to Rule 16(a) of the Federal Rules of Civil Procedure, a pretrial conference
will be held on August 17, 2022 at 11:00 AM before United States Magistrate Judge John
Docherty. The pretrial conference will be held via Zoom using audio only (no video). The
Court will send an email with Zoom instructions prior to the date of hearing.

        Counsel must meet before the scheduled pretrial conference pursuant to Rule 26(f)
of the Federal Rules of Civil Procedure and Local Rule 26.1. No later than August 10,
2022, the parties must prepare and file a joint Rule 26(f) Report in compliance with the
rules using the attached Rule 26(f) template. A copy of the 26(f) Report in Word format
should be emailed to Magistrate Judge Docherty at docherty_chambers@mnd.uscourts.gov
at the time of the joint filing.

        In addition to the Rule 26(f) Report, each party must email no later than
August 10, 2022 to Magistrate Judge Docherty’s chambers a 1-2 page confidential
letter setting forth what settlement discussions have taken place, whether and when
the party believes an early settlement conference or private mediation might be
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productive, and what discovery might be needed to maximize the chances of reaching
a settlement in such a conference.

        The parties’ Rule 26(f) Report must include a proposed discovery plan as required
by Rule 26(f) of the Federal Rules of Civil Procedure and Local Rule 26.1. The parties
must review and address each of the matters set forth in Fed. R. Civ. P. 26(f)(3)(A)–(F)
and design a discovery plan that is appropriate for the circumstances of this case. Counsel
should review the Court’s Guide, “Discussion of Electronic Discovery at Rule 26(f)
Conferences:         A       Guide        for        Practitioners,”      available      at
https://www.mnd.uscourts.gov/sites/mnd/files/eDiscovery-Guide.pdf. The discovery
schedule and limitations included in the template are intended to guide the parties and will
be useful in the ordinary case. However, the parties are encouraged to reach agreement
upon, and suggest to the Court, a discovery plan that takes into account the unique
circumstances of the individual case, and to modify the template whenever needed.

       If the parties cannot reach agreement on any particular item regarding scheduling or
discovery, they should set forth their separate positions in the Rule 26(f) Report for
discussion at the pretrial conference.

       Lead counsel should be present for the conference and have authority to discuss all
aspects of the 26(f) Report and scheduling conference topics. If this is not possible,
substitute counsel with knowledge about the case and Report should be arranged.

      If any party does not have counsel of record in this case, it is the responsibility of
counsel for a represented party to immediately notify unrepresented parties of this
conference and of the requirements set forth in this Notice.

      Failure by any party or counsel to comply with any part of this Notice, including
timely submission of the Rule 26(f) Report and settlement letter to Magistrate Judge
Docherty, may result in the postponement of the pretrial conference, an imposition of an
appropriate sanction on the party, company, or attorney who failed to comply, or both.

       Judge Docherty’s Practice Pointers are available on the U.S. District Court’s
Website: https://www.mnd.uscourts.gov/JFD. Counsel should contact Magistrate Judge
Docherty’s Courtroom Deputy at 651-848-1180, with respect to any matters concerning
the pretrial conference.

Date: July 19, 2022                                s/ John F. Docherty
                                                   JOHN F. DOCHERTY
                                                   United States Magistrate Judge


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